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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION


IN RE: 3M COMBAT ARMS                          )        CASE NO. 3:19-MD-2885
EARPLUG PRODUCTS                               )
LIABILITY LITIGATION                           )        INDIV. DOCKET: 7:20cv93-MCR/GRJ
                                               )
THIS RELATES TO:                               )
                                               )
MARCUS HENSEL                                  )
     v.                                        )
3M COMPANY ET AL.                              )


                             NOTICE OF DESIGNATED FORUM

       Pursuant to this Court’s orders, PTO’s 22, 29, and 30, Plaintiff Marcus Hensley hereby

designates his forum as the Western District of Missouri.

Dated: March 20, 2020

                                                        /s Taylor C. Bartlett
                                                        Taylor C. Bartlett
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                                                        Attorney for Plaintiff
                                  CERTIFICATE OF SERVICE

       I CERTIFY that this document was filed via CM/ECF on March 20, 2020, for electronic

distribution to the counsel of record in this action.

                                                        /s/ Taylor C. Bartlett
                                                        Attorney for Plaintiff
